             Case 1:21-cv-00586-APM Document 39 Filed 08/03/21 Page 1 of 12




                                   UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF COLUMBIA



ERIC SWALWELL,

           Plaintiff,

v.                                                     Civil Case Number: 1:21-CV-586 APM

DONALD J. TRUMP, DONALD J.
TRUMP, JR., REPRESENTATIVE
MO BROOKS (Pro Se) & RUDOLPH
GIULIANI,

           Defendants.

                    MOTION TO STRIKE SWALWELL BRIEF FALSE “FACTS”

           Defendant Mo Brooks (“Brooks”) Moves to Strike false “facts” asserted,

unsupported, yet relied on in Swalwell’s “Opposition to Petition to Certify Defendant Mo

Brooks Was Acting Withing the Scope of His Office or Employment” (herein “Swalwell

Brief”).

           The Swalwell Brief offers zero evidence in response to Brooks’ Petition to Certify.

Rather, Swalwell asks this Court to assume, without a shred of evidence of any kind

(other than that presented by Brooks), that Swalwell’s Complaint allegations are all true.

           Hence, the Swalwell Brief improperly relies on pleading allegations that are false,

unsupported by evidence,1 and rebutted by evidence.

           The Department of Justice’s (herein “DoJ”) Brief, p. 6, accurately states the crux

of this Motion to Strike, to-wit:




1
    As the word “evidence” is used in the Federal Rules of Evidence.

                                                           1
        Case 1:21-cv-00586-APM Document 39 Filed 08/03/21 Page 2 of 12




       The Department’s decision regarding scope-of-employment certification “is

       conclusive unless challenged. Accordingly, the party seeking review bears the

       burden of presenting evidence and disproving the [Department’s] decision to

       grant or deny scope of employment certification by a preponderance of the

       evidence.” (Emphasis added). Saleh v. Bush, 848 F.3d 880, 889 (9th Cir. 2017)

       (quoting Green v. Hall, 8 F.3d 695, 698 (9th Cir. 1993)); see also Wilson v. Libby,

       535 F.3d 697, 711 (D.C. Cir. 2008); Lyons v. Brown, 158 F.3d 605, 610 (1st Cir.

       1998); S.J. & W. Ranch, Inc. v. Lehtinen, 913 F.2d 1538, 1543 (11th Cir. 1990),

       amended, 924 F.2d 1555 (11th Cir. 1991).

       Brooks has presented evidence: sworn statements. Once done, Swalwell must

either accept Brooks’ statements as true or offer rebuttal evidence. Swalwell offers zero

evidence supporting the Swalwell Complaint or the Swalwell Brief.

       Hence, the Swalwell Brief’s claim that “the underlying facts of this case are

alleged in detail in the Complaint, and summarized in other pleadings as well” is

incorrect. The only facts before this court are the evidence presented by Brooks and

the DoJ. Further, the only time Swalwell can rely on his Complaint allegations

concerning Petition to Certify merits is when the Complaint allegations are not rebutted

by evidence (such as Brooks’ sworn statements).

       This Court should not rely on rumors; wild, baseless allegations; politically-

motivated, partisan hype; surmises and the like. Rather, this Court must rely on, and its

decision be based on, actual evidence and proof.

       Brooks moves to strike and moves this Court to not consider the following false

“facts” asserted in the Swalwell Brief:



                                             2
         Case 1:21-cv-00586-APM Document 39 Filed 08/03/21 Page 3 of 12




       1.      Strike “he suggests that he is an employee not of the government he

attacked but of his constituents, see Petition (“Pet.”) at 4-5 (arguing that he is

“controlled” by his constituents), and was merely serving their interests on January 6.”

Swalwell Brief, p. 1. This alleged “fact” is a conclusory statement that distorts and

conflicts with Brooks’ sworn statements, the only evidence before this Court. By way of

but one example, Brooks’ sworn statement is that the employment relationship of a

Member of Congress is unusual and difficult to put into a single cubby hole. A

Congressman is controlled by the U.S. Government (who pays the paycheck); is

controlled by the citizens who, every two years, decides whether to hire or fire; is

controlled by the will and rules of the House of Representatives; and is sworn to support

and defend the Constitution. See, by way of example but not limitation, Petition to

Certify Affidavit, ¶¶ 3, 4, 5, 6.

       2.      Strike “he claims that in his speech on January 6 he mainly was just

whipping up support for the 2022 and 2024 elections—that his speech wasn’t primarily

about what the crowd whose members had traveled so far to be there that day should

do that day, but what they should do in the next two elections. See, e.g., id. at 14, 16,

19..” Swalwell Brief, p. 1. This alleged “fact” is a conclusory statement that distorts and

conflicts with Brooks’ sworn statements, the only evidence before this Court. In his

sworn statements, Brooks identifies the many different things Brooks’ Ellipse Speech

was about and many different motivations that supported attendance. It was not “just

whipping up support for the 2022 and 2024 elections”. See, by way of example but not

limitation, Petition to Certify Affidavit, ¶¶ 7, 9, 10, 11, 62. Verified Reply to Briefs, ¶¶ 20,

37, 58-64, 72-73.



                                               3
        Case 1:21-cv-00586-APM Document 39 Filed 08/03/21 Page 4 of 12




       3.       Strike “Worse still, in alleging that he is essentially an employee of his

constituents, Congressman Brooks has identified a “master” who exercises no control

over his day-to-day activities.” Swalwell Brief, p. 1. Inasmuch as the premise is false

(¶1 above), this conclusory statement is also false, rebutted by evidence, and

unsupported by any evidence. The people and governmental entities who control

Members of Congress are simply not as simplistic as what Swalwell claims as fact.

See, by way of example but not limitation, Petition to Certify Affidavit, ¶¶ 3, 4, 5, 6.

       4.       Strike “in claiming the latter, Brooks has admitted to engaging in the kind

of campaign and political activity that courts routinely identify as falling outside the

scope of elected officials’ duties and which the House itself says may not be done with

official resources. In other words, by expressly framing his conduct as having been

conducted within his campaign capacity, Brooks effectively concedes that that conduct

was not within the scope of his employment.” Swalwell Brief, p. 2. Inasmuch as the

premise is false (¶2 above), this conclusory statement is also false, rebutted by

evidence, and unsupported by any evidence. See, by way of example but not limitation,

Petition to Certify Affidavit, ¶¶ 3, 4, 5, 6, 7, 9, 10, 11, 62. Verified Reply to Briefs ¶¶ 37,

58-64, 72-73.

       5.       Strike “Brooks cannot show that his actions in inciting a deadly riot were

somehow within the scope of his federal employment.” Swalwell Brief, p. 2. There is no

evidence before this Court that Brooks “incit(ed) a deadly riot” and, to the contrary, the

only evidence before this Court is that Brooks did not incite a deadly riot. In any event,

this statement of “fact” is conclusory statements that relies on pleading allegations that

are false, unsupported by evidence, and rebutted by evidence. See, by way of example



                                               4
        Case 1:21-cv-00586-APM Document 39 Filed 08/03/21 Page 5 of 12




but not limitation, Petition to Certify Affidavit, ¶ 62. Verified Reply to Briefs ¶¶ 50-57, 65-

71.

       6.     Strike “thousands of Trump’s supporters had been called to the District for

the express purpose of marching on the Capitol. Brooks and the others addressed

perhaps their most incendiary rhetoric yet to that crowd.” Swalwell Brief, pp. 2-3. This

asserted “fact” relies on pleading allegations that are false, unsupported by evidence,

and rebutted by evidence. In particular, there was not any call to “march on the

Capitol”, the call was to march to the Capitol grounds. Further, Brooks addressed a

peaceful rally at the Ellipse, where there was no violence. Brooks never addressed a

different crowd (albeit one that overlaps to some degree with the Ellipse crowd) at the

Capitol roughly four hours after Brooks gave his Ellipse Speech. See, by way of

example but not limitation, Verified Reply to Briefs ¶¶ 50-57, 65-71.

       7.     Strike the entire Swalwell brief “Section A” (Swalwell Brief, pp. 3-4)

because it is either material (relating to defendants other than Brooks; Brooks has

sworn under oath that there was no conspiracy or the like among defendants) or the

“facts” are conclusory statements that rely on pleading allegations that are false,

unsupported by evidence, and rebutted by evidence. Further, and as sworn to by

Brooks, there is substantial evidence of systemic flaws in America’s election system and

that the reported 2020 election results are highly unlikely to accurately reflect the lawful

votes cast by eligible American citizens. See, by way of example but not limitation,

Verified Reply to Briefs ¶¶ 50-57, 65-71, 72-73.

       8.     Strike “The January 6 rally was organized and run by a political campaign,

Donald J. Trump for President. Compl. ¶97.” Swalwell Brief, p. 4. The facts in Brooks’



                                              5
        Case 1:21-cv-00586-APM Document 39 Filed 08/03/21 Page 6 of 12




sworn statements conflict with this Complaint allegation and suggest otherwise. As

such this assertion relies on pleading allegations that are false, unsupported by

evidence, and rebutted by evidence. See, by way of example but not limitation, Verified

Reply to Briefs ¶¶ 10-23.

       9.   Strike “Brooks himself swears that he had no plans to even attend the rally

until Trump invited him to speak at it on January 5. Pet. at 11, 32.” Swalwell Brief, p. 4.

This assertion relies on pleading allegations that are false, unsupported by evidence,

and rebutted by evidence. In particular, Brooks’ sworn statement denies Trump invited

Brooks to speak at the Ellipse Rally (the invitation was extended by a White House

staffer). See, by way of example but not limitation, Verified Reply to Briefs ¶¶ 10, 13,

20, 21, 58-64.

       10. Strike Brooks “accepted the invitation and coordinated with the Trump

campaign about the speech’s “parameters.” Id. at 11.” Swalwell Brief, p. 4. This

assertion relies on pleading allegations that are false, unsupported by evidence, and

rebutted by evidence. In particular, the “parameter” discussion was between Brooks

and a White House staffer. For clarity, the “parameter” discussion was about the

speech start time, the speech length, the speech place, and the logistics of getting into

and out of the Ellipse Rally area.

       11. Strike “And it had been widely known that some of Trump’s supporters had

responded to such allegations with political violence.” Swalwell Brief, p. 4. This

assertion is immaterial to the matter before this Court and relies on pleading allegations

that are false, unsupported by evidence, and rebutted by evidence. Prior to January 6,

2021, Brooks had seen significant parts of various Trump rallies on TV. Not once did



                                             6
        Case 1:21-cv-00586-APM Document 39 Filed 08/03/21 Page 7 of 12




Brooks ever see any violence erupt after any Trump rally. On most days, Brooks reads

dozens of news articles that relate to politics and political events. Brooks cannot recall

reading a single article, or seeing a single TV news cast, that describes significant

violence erupting after any Trump rally. See, by way of example but not limitation,

Verified Reply to Briefs ¶¶ 22,23.

       12. Strike “Congressman Brooks claims that what he was really doing on

January 6 was campaigning for the 2022 and 2024 elections.” Swalwell Brief, p. 5. This

assertion is made up, relies on pleading allegations that are false, unsupported by

evidence, and rebutted by evidence. Brooks has never said “that what he was really

dong on January 6 was campaigning for the 2022 and 2024 elections.” See the verified

statements made part of the Petition to Certify Affidavit and Verified Reply to Briefs.

This allegation is too voluminous to include the multitude of verified statements it

violates.

       13. Strike “Despite claiming, for example, that Brooks did not personally post all

of the tweets identified in the Complaint, see Brooks Aff. ¶¶29-35, the Petition never

disavows their contents or claims they were unauthorized.” Swalwell Brief, p. 6. This

assertion relies on pleading allegations that are false, unsupported by evidence, and

rebutted by evidence. In particular, Brooks’ sworn statement has denied the factual

accuracy of one or more tweets lumped into Swalwell’s Complaint. See, by way of

example but not limitation, Verified Reply to Briefs ¶ 21.

       14. Strike “the Petition does not deny that Brooks was aware that Trump’s

followers repeatedly had responded to Trump’s election fraud claims with political

violence, as specifically detailed in the Complaint.” Swalwell Brief, p. 6. While the



                                             7
        Case 1:21-cv-00586-APM Document 39 Filed 08/03/21 Page 8 of 12




“Petition does not deny” phrase is accurate, Brooks has sworn that he was unaware of

the remainder of the allegation and, as such, this allegation should be stricken or

rebutted with evidence. See, by way of example but not limitation, Verified Reply to

Briefs ¶¶ 22,23.

       15. Strike “he engaged in that conduct in his campaign capacity rather than his

official capacity.” Swalwell Brief, p. 8. This assertion is conclusory and relies on

pleading allegations that are false, unsupported by evidence, and rebutted by evidence.

See the verified statements made part of the Petition to Certify Affidavit and Verified

Reply to Briefs. This allegation is too voluminous to include the multitude of verified

statements it violates.

       16. Strike “Brooks now claims that his speech was primarily a campaign speech

for the 2022 and 2024 elections. See, e.g., Pet. at 14, 16, 19.” Swalwell Brief, p. 14.

This is unsupported by evidence, rebutted by evidence, and badly misstates Brooks’

sworn statements. Brooks never stated that Ellipse Speech was a “campaign speech

for the 2022 and 2024 elections”, or any other election. Further, Brooks’ sworn

statements make clear that Brooks was motivated to do the Ellipse Speech for a variety

of reasons, not just one as Swalwell alleges in this statement. Did Brooks seek to

inspire citizens to generically do their civic duty by participating in the 2022 and 2024

elections? Yes. Did Brooks “campaign” for or support any candidate in any 2022 or

2024 election? No. Did Brooks “campaign” for or support any political party in any

2022 or 2024 election? No. .” See the verified statements made part of the Petition to

Certify Affidavit and Verified Reply to Briefs. This allegation is too voluminous to include

the multitude of verified statements it violates.



                                              8
        Case 1:21-cv-00586-APM Document 39 Filed 08/03/21 Page 9 of 12




       17. Strike “Indeed, the House itself has so determined. In a letter attached to

House Counsel’s filing today, Congresswoman Zoe Lofgren, Chair of the Committee on

House Administration, explains that Brooks’ sworn testimony “that his conduct was . . .

in furtherance of political campaigns” means that activity necessarily was “outside the

scope of official duties,” ECF No. 32-1 at 4 (emphasis added).” Swalwell Brief, p. 14.

Political opponent Lofgren’s personal opinion about what the House Ethics Rules say or

don’t say is immaterial and subservient to the House Ethics Rules themselves (which

are before this Court). The House Ethics Rules themselves are the best evidence of

what the House Ethics Rules say or don’t say, permit or don’t permit.

       18. Strike “he claims that what he was really doing on January 6 was

campaigning for the 2022 and 2024 elections.” Swalwell Brief 15. This is unsupported

by evidence, rebutted by evidence, and badly misstates Brooks’ sworn statements.

Brooks never stated that Ellipse Speech was a “campaign speech for the 2022 and

2024 elections”, or any other election. Further, Brooks’ sworn statements make clear

that Brooks was motivated to do the Ellipse Speech for a variety of reasons. Did Brooks

seek to inspire citizens to generically do their civic duty by participating in the 2022 and

2024 elections? Yes. Did Brooks “campaign” for or support any candidate in any 2022

or 2024 election? No. Did Brooks “campaign” for or support any political party in any

2022 or 2024 election? No. See the verified statements made part of the Petition to

Certify Affidavit and Verified Reply to Briefs. This allegation is too voluminous to include

the multitude of verified statements it violates.

       19. Strike “Brooks himself amply supports the Complaint’s allegation that he




                                              9
       Case 1:21-cv-00586-APM Document 39 Filed 08/03/21 Page 10 of 12




engaged in the conduct at issue in furtherance of his and his political party’s “partisan

aims,” not because of his official duties. Compl. ¶¶85, 109; see also id. ¶97 (alleging

that January 6 rally was organized and run by a political campaign, Donald J. Trump for

President).” Swalwell Brief, p. 15. This assertion is conclusory and relies on pleading

allegations that are false, unsupported by evidence, and rebutted by evidence. There is

no evidence Brooks’ conduct was to further “his political party’s ‘partisan aims’. Further,

Brooks’ sworn statements make clear that Brooks was motivated to do the Ellipse

Speech for a variety of reasons, not just one as Swalwell alleges in this statement. See

the verified statements made part of the Petition to Certify Affidavit and Verified Reply to

Briefs. This allegation is too voluminous to include the multitude of verified statements it

violates.

       20. Strike “Brooks’ January 6 speech was given at a campaign rally to advance

particular political aims”. Swalwell Brief, p. 19. This assertion is conclusory and relies

on pleading allegations that are false, unsupported by evidence, and rebutted by

evidence. For all the reasons made in Brooks’ sworn statements, the Ellipse Rally was

not, to Brooks, a “campaign rally”. See the verified statements made part of the Petition

to Certify Affidavit and Verified Reply to Briefs. This allegation is too voluminous to

include the multitude of verified statements it violates.

       21. Strike “The Complaint further plausibly alleges that a subset of those

supporters repeatedly had responded to those claims with political violence. And

Brooks, though he denies many things in his affidavit, does not deny knowing that

Trump’s followers had been told such things and had responded in that way.” Swalwell

Brief, p. 21. This assertion is conclusory and relies on pleading allegations that are



                                             10
       Case 1:21-cv-00586-APM Document 39 Filed 08/03/21 Page 11 of 12




false, unsupported by evidence, and rebutted by evidence. Brooks in his sworn

statements absolutely denies” knowing that Trump’s followers had been told such things

and responded in that way” (referring to violence). See, by way of example but not

limitation, Verified Reply to Briefs ¶¶ 22,23.

       22. Strike “today they had to start “kicking ass!” knowing they were marching to

the Capitol where Trump already had pressured Pence to engage in an illegal act.“

Swalwell Brief, p. 21. This assertion is conclusory and relies on pleading allegations

that are false, unsupported by evidence, and rebutted by evidence. Swalwell splices

one part of one sentence in a two-sentence paragraph to distort Brooks’ remarks and

deceive this Court. Reading the two-sentence paragraph in its entirety, the phrase

“kicking ass” generically referred to “kicking ass” in the 2022 and 2024 elections (not to

“kicking ass” today). For emphasis, the “kicking ass” phrase did not, in the Ellipse

Speech, refer to a single candidate or to any candidates of any political party. Brooks

denies knowing that “Trump already had pressured Pence to engage in an illegal act.”.

”. See the verified statements made part of the Petition to Certify Affidavit and Verified

Reply to Briefs. This allegation is too voluminous to include the multitude of verified

statements it violates.

       23. Strike “Brooks engaged in conduct not authorized by his office.” Swalwell

Brief, p. 22. This assertion is conclusory and relies on pleading allegations that are

false, unsupported by evidence, and rebutted by evidence.” See the verified statements

made part of the Petition to Certify Affidavit and Verified Reply to Briefs. This allegation

is too voluminous to include the multitude of verified statements it violates.




                                             11
       Case 1:21-cv-00586-APM Document 39 Filed 08/03/21 Page 12 of 12




       24. Strike “The Committee on House Administration confirms that in doing so he

acted outside the scope of his official duties.” Swalwell Brief, p. 22. This assertion is

conclusory and relies on pleading allegations that are false, unsupported by evidence,

and rebutted by evidence. Further, Brooks has never appeared before the Committee

on House Administration and, in any event, the House Ethics Rules govern what

conduct is political activity, and what is not, for the purposes of considering “scope of

employment” and the Petition to Certify, not the opinions of a political adversary of

Brooks.

       25. Strike “And he did so in language he knew, or should have known, would

incite individuals to respond to his apocalyptic claims with political violence, as had

happened more than once.” Swalwell Brief, p. 22. This assertion is conclusory and

relies on pleading allegations that are false, unsupported by evidence, and rebutted by

evidence. See, by way of example but not limitation, Verified Reply to Briefs ¶¶ 22,23.

       Respectfully submitted.


                                          Mo Brooks
                                          Morris Jackson “Mo” Brooks, Jr.
                                          1000 New Jersey S.E., Unit 1208
                                          Washington, DC 20003

                               CERTIFICATE OF SERVICE

       I certify that on August 3, 2021, I caused a copy of the foregoing to be filed with
the Clerk via email to DCDml_Intake@dcd.uscourts.gov or via the Pacer System, which,
as Brooks understands it, causes a copy to be sent to all counsel of record.


                                          Mo Brooks
                                          Morris Jackson “Mo” Brooks, Jr.
                                          1000 New Jersey S.E., Unit 1208
                                          Washington, DC 20003

                                             12
